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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 JEFFREY GOOD,

                                Plaintiff,

                        vs.                                            Case No. 21-2539

 UNITED STATES DEPARTMENT OF
 EDUCATION, ET AL.,

                                Defendants.


                                     NOTICE OF REMOVAL

       The United States of America files this Notice of Removal of the following action from

the District Court of Johnson County, Kansas, Case No. 21CV05221, to the United States District

Court for the District of Kansas. Pursuant to 28 U.S.C. § 1442, the United States of America alleges

and states:

       1.      The United States of America removes this action by authority of the Attorney

General of the United States.

       2.      The United States Department of Education is an agency of the federal government

and has been named as a Defendant in a civil action pending in the District Court of Johnson

County, Kansas, captioned Jeffrey Good v. Transunion LLC et al., wherein Plaintiff seeks money

damages arising from alleged violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq.

       3.      Notice of the above action was given to the United States Department of Education

on November 9, 2021.

       4.      A copy of the summons and petition delivered to the United States Department of

Education is attached marked as Exhibit A.
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          5.    Pursuant to Title 28 U.S.C. § 1442, the United States of America has the right, at

its election and without bond, to remove this action from the District Court of Johnson County,

Kansas, to the United States District Court for the District of Kansas and does elect to remove this

action.

          WHEREFORE, the United States of America respectfully submits notice that Case No.

21CV05221 pending in the District Court of Johnson County, Kansas, is removed from that court

to the United States District Court for the District of Kansas.

                                                      Respectfully submitted,

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                                                      Acting United States Attorney
                                                      District of Kansas

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                                                      Attorneys for the Defendant United States
                                                      Department of Education




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